         Case 1:20-cv-07558-GHW Document 50 Filed 11/05/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                         11/05/2020
 Stephanie Moore, as Representative of the
 Estate of Booker Thomas Moore,
                                                           1:20-cv-07558 (GHW) (SDA)
                                Plaintiff,
                                                           ORDER SCHEDULING TELEPHONIC
                    -against-
                                                           SETTLEMENT CONFERENCE
 Evan Katin-Borland et al.,

                                Defendants.


STEWART D. AARON, United States Magistrate Judge:

       A settlement conference is scheduled before Magistrate Judge Stewart Aaron on Friday,

December 18, 2020 at 10:00 a.m. The settlement shall proceed by telephone unless the parties

advise the Court that they have access to and prefer proceeding by alternative remote means,

such as by video.

       The Court will provide dial-in information to the parties by email before the conference.

The parties must comply with the Settlement Conference Procedures for Magistrate Judge

Stewart D. Aaron, available at https://nysd.uscourts.gov/hon-stewart-d-aaron.

SO ORDERED.

DATED:        New York, New York
              November 5, 2020

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                                                   STEWART D. AARON
                                                   United States Magistrate Judge
